Case 2:21-cv-01602-CCW Document 1-1 Filed 11/05/21 Page 1 of 13

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IN THE COURT OF COMMON PLEAS
ALLEGHENY COUNTY, PENNSYLVANIA
ANNA MARIE HOFER and GLENN CIVIL DIVISION
HOFER, Wife and Husband,
. No. @ D- al- 1603
Plaintiffs,
COMPLAINT IN A CIVIL ACTION
vs.
Filed on behalf of Plaintiffs:
BATH & BODY WORKS, INC., f/k/a L Anna Marie Hofer and Glenn Hofer
BRANDS, INC.;
Counsel of Record for Plaintiffs:
VICTORIA’S SECRET, A Wholly Owned
Subsidiary of L BRANDS, INC.; DOUGLAS J. OLCOTT, ESQUIRE
E-mail address: dolcott@edgarsnyder.com
VICTORIA'S SECRET & CO.,, fik/a PA LD. No. 204851
VICTORIA’S SECRET, A Wholly Owned
Subsidiary of L BRANDS, INC.; KATHRYN C, MONBARON, ESQUIRE
Defendants. E-mail address: kmonbaron@edgarsnyder.com
PA LD. No. 324529

JASON M. LICHTENSTEIN, ESQUIRE
E-mail address: jlichtenstein@edgarsnyder.com

PA I.D. No. 73288
Firm No. 1605

EDGAR SNYDER & ASSOCIATES, LLC
US Steel Tower, 10“ Floor

600 Grant Street
Pittsburgh, PA 15219-2705
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Case 2:21-cv-01602-CCW Document 1-1 Filed 11/05/21 Page 2 of 13

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IN THE COURT OF COMMON PLEAS
ALLEGHENY COUNTY, PENNSYLVANIA

ANNA MARIE HOFER and GLENN ) CIVIL DIVISION
HOFER, Wife and Husband, )

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Plaintiffs,
vs.

BATH & BODY WORKS, INC., fik/a L
BRANDS, INC.;

VICTORIA’S SECRET, A Wholly Owned
Subsidiary of L BRANDS, INC.;

VICTORIA’S SECRET & CO., fik/a
VICTORIA’S SECRET, A Wholly Owned
Subsidiary of L BRANDS, INC.;

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Defendants.
NOTICE TO DEFEND

You have been sued in court. If you wish to defend against the claims set forth in the following
pages, you must take action within twenty (20) days after this complaint and notice are served, by
entering a written appearance personally or by attorney and filing in writing with the court your
defenses or objections to the claims set forth against you. You are warned that if you fail to do so
the case may proceed without you and a judgment may be entered against you by the court without
further notice for any money claimed in the complaint or for any claim or relief requested by the
plaintiff. You may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER [OR CANNOT AFFORD ONE], GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW [TO FIND OUT WHERE YOU CAN GET LEGAL HELP].
THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A
LAWYER.

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER
LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

LAWYER REFERRAL SERVICE - LAWYER REFERRAL SERVICE
THE ALLEGHENY COUNTY BAR ASSOC.
Koppers Building, 3 Floor
436 Seventh Avenue
Pittsburgh, PA 15219
Telephone (412) 261-5555
Case 2:21-cv-01602-CCW Document 1-1 Filed 11/05/21 Page 3 of 13

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IN THE COURT OF COMMON PLEAS
ALLEGHENY COUNTY, PENNSYLVANIA
ANNA MARIE HOFER and GLENN ) CIVIL DIVISION
HOFER, Wife and Husband, )
) No.:
Plaintiffs, )
)
vs. )
)
BATH & BODY WORKS, INC., f/k/aL )
BRANDS, INC.; )
)
VICTORIA’S SECRET, A Wholly Owned)
Subsidiary of L BRANDS, INC.; )
)
VICTORIA’S SECRET & CO., f/k/a )
VICTORIA’S SECRET, A Wholly Owned _ )
Subsidiary of L BRANDS, INC.; }
)
Defendants.

COMPLAINT IN A CIVIL ACTION
AND NOW, come the Plaintiffs, ANNA MARIE HOFER and GLENN HOFER, wife and

husband, by and through their attorneys, EDGAR SNYDER & ASSOCIATES, LLC; DOUGLAS
J. OLCOTT, ESQUIRE; KATHRYN C. MONBARON, ESQUIRE; and EDGAR SNYDER &
ASSOCIATES, LLC and set forth the within Complaint in a Civil Action and in support therefore
aver as follows:

1, Plaintiffs, ANNA MARIE HOFER and GLENN HOFER, are married adult
individuals who reside at 351 Dorseyville Road, Pittsburgh, Allegheny County, Pennsylvania
15215.

2. Defendant, BATH & BODY WORKS, INC., f/k/a L BRANDS, INC., is a foreign
corporation authorized to transact and conduct business within the Commonwealth of
Pennsylvania with a principal place of business located at Three Limited Parkway, Columbus,

Ohio 43230.
Case 2:21-cv-01602-CCW Document 1-1 Filed 11/05/21 Page 4 of 13

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3. Defendant, VICTORIA’S SECRET, A Wholly Owned Subsidiary of L BRANDS,
INC., is a foreign corporation authorized to transact and conduct business within the
Commonwealth of Pennsylvania with a principal place of business located at Four Limited
Parkway, Reynoldsburg, Ohio 43068.

4. Defendant, VICTORIA’S SECRET & CO. ffk/a VICTORIA’S SECRET, A
Wholly Owned Subsidiary of L BRANDS, INC., is a foreign corporation authorized to transact
and conduct business within the Commonwealth of Pennsylvania with a principal place of business
located at Four Limited Parkway, Reynoldsburg, Ohio 43068.

5. At all times material hereto, Defendants, BATH & BODY WORKS, INC., f/k/a L
BRANDS, INC., VICTORIA’S SECRET, A Wholly Owned Subsidiary of L BRANDS, INC., and
VICTORIA’S SECRET & CO. t/k/a VICTORIA’S SECRET, A Wholly Owned Subsidiary of L
BRANDS, INC., were acting by and through their respective officers, agents, servants and/or
employees who were acting within the course and scope of their office, agency, servitude, and/or
employment with Defendants.

6. Atall times relevant hereto, it is believed and therefore averred, Defendants, BATH
& BODY WORKS, INC., fik/a L BRANDS, INC., VICTORIA’S SECRET, A Wholly Owned
Subsidiary of L BRANDS, INC., and VICTORIA’S SECRET & CO. f/k/a VICTORIA’S
SECRET, A Wholly Owned Subsidiary of L BRANDS, INC., are related entities and will be
hereinafter collectively referred to as “VICTORIA’S SECRET”.

7. The VICTORIA’S SECRET Defendants owned, controlled, maintained, operated
and/or managed the Victoria’s Secret/Pink Retail Store(s), located within the Pittsburgh Mills Mall
a/k/a The Galleria at Pittsburgh Mills, located at 176 Pittsburgh Mills Circle, Tarentum,

Pennsylvania, Allegheny County, Pennsylvania 15084 (hereinafter “STORE”).
Case 2:21-cv-01602-CCW Document 1-1 Filed 11/05/21 Page 5 of 13

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8. At all times relevant hereto, it is believed and therefore averred that the
VICTORIA’S SECRET Defendants were responsible for the inspection, maintenance, design,
construction, repair, safety, and policing of the STORE including the means of ingress and egress,
doorways, walking surfaces, display areas, and clothing racks.

9. At all times material hereto, VICTORIA’S SECRET Defendants held the STORE
out and open to the public and advertised to the public for business invitees to enter into and upon
its business premise for which such invitees were known to be patronizing the STORE.

10. On December 23, 2019, ANNA MARIE HOFER was patronizing the STORE and
as such was a business invitee. |

11. While patronizing the STORE ANNA MARIE HOFER’s attention was drawn to a
rack of clothing containing jogging suits/sweatsuits.

12. The floor space at the STORE appeared to ANNA MARIE HOFER to be more
crowded than normal with extra Gisplays and clothes racks since Christmas was only two (2) days
away.

13. | As ANNA MARIE HOFER was walking around the rack of clothes, unbeknownst
to her, there was a piece of metal protruding from the bottom of the clothes rack.

14. The piece of metal was hidden and/or obscured from ANNA MARIE HOFER’s
view by the clothes hanging on the rack.

15. | The above-described condition existed in an area where Defendant VICTORIA’S
SECRET’s customers were encouraged and known to walk and created a dangerous
tripping/falling hazard for customers, such as ANNA MARIE HOFER.

16. The piece of metal protruding from the bottom of the clothes rack caused ANNA

MARIE HOFER to trip and fall to the ground striking her left knee on the marble/tile floor.
Case 2:21-cv-01602-CCW Document 1-1 Filed 11/05/21 Page 6 of 13

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17. At all times material hereto, the location and configuration of the clothing rack
caused a hazardous and unsafe condition in the STORE, which was caused, allowed, and/or
permitted to exist as a result of the negligence of the VICTORIA’S SECRET Defendants, as set
forth more fully herein.

18. Due to the negligence of the VICTORIA’S SECRET Defendants, Plaintiff-Wife,
ANNA MARIE HOFER, was caused to sustain serious and permanent bodily injuries and damages
as set forth more fully herein.

COUNT I
ANNA MARIE HOFER
BATH & BODY WORKS, INC., twa L BRANDS, INC.; VICTORIA’S

SECRET, A Wholly Owned Subsidiary of L BRANDS, INC.; and
VICTORIA’S SECRET & CO., f/k/a VICTORIA’S SECRET,

A Wholly Owned Subsidiary of L BRANDS, INC.
19, Paragraphs 1 through 18 are incorporated herein by reference as if fully set forth at

length.

20. At all times relevant hereto ANNA MARIE HOFER was a business invitee of the
VICTORIA’S SECRET Defendants.

21. The VICTORIA’S SECRET Defendants owed a duty to business invitees,
including ANNA MARIE HOFER, to protect them from foreseeable harm.

22. The VICTORIA’S SECRET Defendants owed a duty to business invitees,
including ANNA MARIE HOFER, to inspect their premises to conduct reasonable inspections to
discovery dangerous conditions and to provide such warnings or safeguards as may be necessary
for the business invitee’s protection.

23. The VICTORIA’S SECRET Defendants owed a duty to business invitees,

including ANNA MARIE HOFER, to maintain its premises in a reasonably safe condition:
Case 2:21-cv-01602-CCW Document 1-1 Filed’ 11/05/21 Page 7 of 13

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24. The VICTORIA’S SECRET Defendants breached its duty to ANNA MARIE

HOFER while she was a patron of the STORE.

25. | ANNA MARIE HOFER sustained injuries as a direct and proximate result of the

negligence and carelessness of the VICTORIA’S SECRET Defendants, generally and in the

following particulars:

a.

In placing clothing racks and displays too close together to allow customers
to safely maneuver around the store;

In failing to adequately train its employee/representatives to properly
arrange the clothing racks and displays in the STORE so as not to impede
customer walking areas;

In failing to establish and/or enforce safe and reasonable guidelines and
instructions regarding the arrangement of clothing racks and displays in the
STORE so as not to impede customer walking areas;

In failing to adequately train its employee/representatives to properly
inspect the STORE for dangerous conditions

In failing to provide a safe walking area between clothing racks and displays
in the STORE;

In failing to take the necessary precautions to ensure that the clothes racks
and display racks were maintained in a safe, secure, and proper manner;

In failing to recognize and/or notice that the arranging of the clothing racks
and displays as configured on the date of this incident created a dangerous
condition and/or fall hazard;

In violating ADA requirements by impermissibly narrowing accessibility
through the STORE by narrowing accessible walkways and routes due to
the improper placement of clothing racks and displays in the STORE;

In causing; allowing, and/or permitting a dangerous condition to exist; i.e.,
piece of metal protruding from the bottom of the clothes rack, which created
a dangerous tripping hazard for customers;

In failing to recognize and/or notice that the piece of metal protruding from
the bottom of the clothes rack created a dangerous condition and/or fall
hazard;

In permitting the condition to exist in an area in which the Defendant knew
or should have known customers would walk;

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Case 2:21-cv-01602-CCW Document 1-1 Filed 11/05/21 Page 8 of 13

c'\.}

In permitting the dangerous condition to exist for a lengthy and
unreasonable period of time;

In failing to ensure that no dangerous, hazardous and/or unsafe condition
existed on the premises;

In failing to properly, promptly, adequately, and/or frequently inspect the
premises to discover the dangerous condition;

In failing to take necessary and adequate steps/precautions to correct, repair,
and/or remove the dangerous condition;

In failing to properly, promptly, adequately, and/or frequently warn, place
cones, place signs, advise, or otherwise notify business invitees of the
dangerous condition;

In failing to adequately train its employee/representatives to properly
inspect the STORE for dangerous conditions, including but not limited to
tripping hazards;

In failing to create and enforce adequate policies and procedures concerning
the inspection of the STORE for dangerous conditions, including but not
limited to tripping hazards; and

In failing to follow and/or abide by applicable regulations, building codes
and/or guidelines regarding accessible aisle access including, but not
limited to, International Building Code § 1014.4.2; National Bureau of
Standards; The BOCA Basic Building Code; American National Standards
Institute (ANSI); American with Disabilities Act (ADA) Standards; ADA
Accessibility Guidelines (ADAAG); International Property Maintenance
Code; International Building Code; Irternational Fire Code; Uniform
Construction Code; and the Uniform Building Code; all of which contain
sections/provisions regarding means of egress, walking surfaces, , risers,
handrails, ramps, accessible routes, and warnings, all which are hereby
incorporated by reference here as if set forth at length.

26. Asadirect and proximate result of the aforesaid negligence and carelessness of the

VICTORIA’S SECRET Defendants, Plaintiff-Wife, ANNA MARIE HOFER, sustained the

following injuries, some or all of which may be permanent:

a.

b.

Tear of the medial meniscus of the left knee;

Tear of the. lateral meniscus of the left knee;
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Case 2:21-cv-01602-CCW Document 1-1 Filed 11/05/21 Page 9 of 13

Left knee medial femoral condyle chondrosis, grade 4;
Left knee lateral tibial plateau chondrosis, grade 2-3;
Left knee trochlear groove chondrosis, grade 2;

Surgical repair of the left knee including left knee arthroscopic partial
medial meniscectomy with chondroplasty of the medial femoral condyle;
and left knee arthroscopic partial tear meniscectomy;

Recurrent tear of the lateral meniscus of the left knee;

Surgical repair of the left knee including left knee arthroscopic partial lateral
meniscectomy;

Effusion of the left knee;

Left knee tightness;

Instability of the left knee;

Left knee swelling;

Left knee pain;

Decreased range of motion of the left knee;
Decreased strength, endurance and stamina;
Ecchymosis and bruising around the right thigh;
Permanent scarring and disfigurement;

Severe shuck, strain and/or sprain of the muscles, ligaments, tendons,
nerves, tissues, and vessels of the musculoskeletal system;

Aggravation of pre-existing, asymptomatic, conditions including, but not
limited to, osteoarthritis of the left knee; and

Other severe and/or permanent injuries, the exact nature of which is not
known at this time.

As a direct and proximate result of the negligence and carelessness of the

VICTORIA’S SECRET Defendants, Plaintiff-Wife, ANNA MARIE HOFER, sustained the

following damages:
Case 2:21-cv-01602-CCW Document 1-1 Filed 11/05/21 Page 10 of 13

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f.

She has endured and will continue to endure physical pain, emotional
anguish, suffering, anxiety, discomfort, distress, depression, stress,
inconvenience, and a loss of enjoyment of life;

Her general health, strength and vitality have been impaired;

She has been embarrassed and humiliated;

She has been and will be required to expend large sums of money for
medical attention, hospitalization, medical supplies, medical appliances,
medicines and various other medical services which have or may be in

excess of the limits set forth in the Pennsylvania Financial Responsibility
Law; and

She has sustained a loss of wages and a loss of earning capacity; and

She has sustained permanent scarring and disfigurement.

WHEREFORE, Plaintiff, ANNA MARIE HOFER, respectfully requests this Honorable

Court enter judgment in her favor against Defendants, BATH & BODY WORKS, INC., f/k/a L

BRANDS, INC.; VICTORIA'S SECRET & CO., ffk/a VICTORIA’S SECRET, A Wholly Owned

Subsidiary of L BRANDS, INC.; and VICTORIA’S SECRET & CO., f/k/a VICTORIA’S

SECRET, A Wholly Owned Svbsidiary of L BRANDS, INC., in an amount in excess of the

Arbitration limits of Allegheny County Court of Common Pleas plus Court costs and Pa.R.C.P.

238 damages.
JURY TRIAL DEMANDED.
COUNT II
GLENN HOFER

v.
BATH & BODY WORKS, INC., f/k/a L BRANDS, INC.; VICTORIA’S
SECRET, A Wholly Owned Subsidiary of L BRANDS, INC.; and
VICTORIA'S SECRET & CO., f/k/a VICTORIA’S SECRET,

A Wholly Owned Subsidiary of L BRANDS, INC.

28. +‘ Paragraphs 1 through 27, inclusive, are incorporated herein by reference as though

more fully set forth at length.
Case 2:21-cv-01602-CCW Documenti1-1 Filed 11/05/21 Page 11 of 13

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29. | GLENN HOFER is the husband of ANNA MARIE HOFER, who was injured by
the negligence and carelessness of the VICTORIA’S SECRET Defendants, as described in Count
I, above, which is incorporated herein by reference as though fully set forth at length.
30. Solely, as a direct and proximate result of the negligence and carelessness of the

VICTORIA’S SECRET Defendants, Plaintiff-Husband, GLENN HOFER, has sustained the

following damages:
a. Loss of consortium;
b. Great incenvenience; and

c. Incurred debt and expenses as a result of the injuries and damages to
Plaintiff-Wife and seeks recovery of these costs.

WHEREFORE, Plaintiff, GLENN HOFER, respectfully requests this Honorable Court to
enter judgment in his favor and sgainst the Defendants, BATH & BODY WORKS, INC., f/k/a L
BRANDS, INC.; VICTORIA’S SECRET & CO., f/k/a VICTORIA’S SECRET, A Wholly Owned
Subsidiary of L BRANDS, INC.; and VICTORIA’S SECRET & CO., fik/a VICTORIA’S
SECRET, A Wholly Owned Subsidiary of L BRANDS, INC., in an amount in excess of the
Arbitration limits of Allegheny County Court of Common Pleas plus Court costs and Pa.R.C.P.

238 damages.

JURY TRIAL DEMANDED.
Respectfully submitted,
EDGAR SNYDER & ASSOCIATES, LLC

 
Case 2:21-cv-01602-CCW Documenti1-1 Filed 11/05/21 Page 12 of 13

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VERIFICATION
We, ANNA MARIE HOFER and GLENN HOFER, wife and husband and Plaintiffs
herein, hereby verify that the averments of fact contained in the COMPLAINT IN A CIVIL
ACTION are true and correct and based upon our personal knowledge, information, or belief. We
understand that these averments of fact are made subject to the penalties of 18 P.C.S.A. § 4904,

relating to unsworn falsification to authorities.

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GLENN HOFER
Case 2:21-cv-01602-CCW Documenti1-1 Filed 11/05/21 Page 13 of 13

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CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of the

Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential

information and documents.

  
 
 

Submitted by: Counsel for Plaintiffs

Signature:

  

Name: Douglas J.

Attorney No.: 204851
